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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                         10/15/2020
DAVID MARTIN HABER,
               Plaintiff,
                                                     20-CV-6637 (AJN) (BCM)
       -against-
                                                     ORDER
EOS CCA,
               Defendant.

BARBARA MOSES, United States Magistrate Judge.

        In a Report and Recommendation to the Hon. Alison J. Nathan dated October 14, 2020
(R&R) (Dkt. No. 19), I recommended that plaintiff's "Opposition to Notice of Motion to Move
Case to U.S. District Court" (Opposition) (Dkt. No. 9), construed as a motion to remand, be
granted and that this action be remanded to the State Court, because plaintiff did not assert any
federal claims in his original Complaint (Dkt. No. 1-1). R&R at 8. A remand order would moot
defendant's motion for a more definite statement (Dkt. No. 5), made pursuant to Fed. R. Civ. P.
12(e). R&R at 1.

       Hours after the R&R was issued, plaintiff's Amended Complaint (Dkt. No. 20) was
entered onto the docket and assigned a filing date of October 13, 2020. In his Amended
Complaint, plaintiff explicitly seeks relief pursuant to multiple federal statutes, including 12
U.S.C. §§ 5531, 5536(a)(1), 12 U.S.C. § 1681s-2, and 15 U.S.C. § 1692e. See Amend. Compl. at
1. However, the pleading is entirely conclusory. Plaintiff does not allege any of the facts
necessary to state a cognizable claim under any of the statutes he now invokes. Accordingly, it is
HEREBY ORDERED that:

       1. The October 14, 2020 R&R is VACATED. Plaintiff's remand motion is deemed
          WITHDRAWN.

       2. Plaintiff is directed to file a Second Amended Complaint, in compliance with Fed. R.
          Civ. P. 8 and other federal pleading standards, no later than November 12, 2020.
          Plaintiff's Second Amended Complaint must include a short and plain statement of
          the facts supporting each claim he asserts against the defendant. A federal complaint
          must tell the Court: what the defendant did to violate each of the statutes under which
          plaintiff seeks relief; who committed the violations on defendant's behalf; when such
          violations occurred; and how plaintiff was injured thereby. Thus, to the extent
          possible, the pleading must:

               a. give the names and titles of all relevant persons;

               b. identify the debts, if any, that defendant attempted to collect from plaintiff;

               c. succinctly describe all relevant events (with dates and times), including any
                  letters, notices, telephone calls, or other communications plaintiff received
                  from defendant's representatives (written communications may be attached to
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                 the complaint), and any other conduct by defendant that plaintiff alleges to
                 have been unlawful and to have injured him;

             d. explain how defendant’s acts or omissions violated the statutes pursuant to
                which plaintiff seeks relief; and

             e. state what relief plaintiff seeks from the Court, such as money damages,
                injunctive relief, or declaratory relief, and explain why plaintiff is entitled to
                that relief.

      3. In light of the Amended Complaint and the forthcoming Second Amended Complaint,
         defendant's motion for a more definite statement (Dkt. No. 5) is deemed
         WITHDRAWN. Defendant may renew that motion, or otherwise respond to
         plaintiff's pleading, within 14 days after the Second Amended Complaint is entered
         on the docket of this action. If plaintiff fails to timely file a Second Amended
         Complaint, defendant may renew its Rule 12(e) motion, or otherwise respond to
         plaintiff's Amended Complaint, on or before November 19, 2020.

      Chambers will mail a copy of this order to plaintiff Haber.

Dated: New York, New York
       October 15, 2020                        SO ORDERED.




                                               ________________________________
                                               BARBARA MOSES
                                               United States Magistrate Judge




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